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                      UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                               SHELBY DIVISION

In Re:

JUAN JOSE CORCHADO                                    Case No. 17-40025
SSN: xxx xx 5723                                      Chapter 7

                  Debtor.
____________________________________

      APPLICATION TO EMPLOY AUCTIONEER TO CONDUCT PUBLIC AND
            PRIVATE SALES AND DECLARATION OF AUCTIONEER
                 NUNC PRO TUNC TO DECEMBER 17, 2017

       The Application of Frederick L. Henderson Jr., Trustee, by and through the undersigned
counsel, respectfully alleges:

         1.   That he is the duly qualified and acting Trustee in this estate.

         2.   That the assets of this estate will include a 2015 Nissan Frontier to be turned over
              to the Trustee by the debtor in this case pursuant to a proposed settlement
              agreement that will be submitted to the Court for approval contemporaneously
              with this application.

         3.   In order to liquidate said assets for the benefit of creditors, it will be necessary to
              sell said property.

         4.   From his experience as a Trustee and observation of professional standards, your
              applicant is satisfied that the best and highest net recovery to this estate will arise
              by selling the property at public and private sales through the employment and
              services of a licensed auctioneer.

         5.   Your applicant, as Trustee, has received from Gary Boyd of Gary Boyd Auction &
              Real Estate, a licensed auctioneer, an offer to liquidate said property at public and
              private sales upon the following terms and conditions:

              a.      Auctioneer to be reimbursed actual and necessary expenses,
                      including, but not limited to, relocating assets, set-up, advertising,
                      lotting, security personnel, check-out, clean-up, etc. in an amount
                      to be approved by the Court. Without limiting the generality of the
                      foregoing, said expenses will include display type advertisements
                      in newspapers, the internet, a general mailing or flier to the trade in
                      the case of public sale.
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               b.     The auctioneer is to receive a commission in an amount as approved by the
                      Court on the gross sales of all public and private sales conducted by the
                      auctioneer.

       6.      Your applicant is informed and believes, and therefore alleges, that the granting of
               this Application is in the best interest of this estate and accordingly, that the Court
               should approve said employment as provided in 11 U.S.C. Section 327(a). From
               the Declaration made by Gary Boyd of Gary Boyd Auction & Real Estate, in
               connection with his employment as auctioneer herein, the Trustee is informed and
               believes that said auctioneer is a disinterested person within the meaning of 11
               U.S.C. Section 101(14), and accordingly, that it is appropriate to employ said
               auctioneer under the provisions of 11 U.S.C. Section 327(a).

       7.      The auctioneer is aware of the provisions of 11 U.S.C. Section 328 and has
               agreed, notwithstanding the terms and conditions of employment herein set forth,
               that the Court may allow compensation different from the compensation provided
               herein if such terms and conditions prove to have been improvident in light of
               developments unable to be anticipated at the time of the fixing of such terms and
               conditions.

       8.      The auctioneer may be required to relocate estate assets to another secure location.
               The Trustee requests that his employment of the auctioneer be allowed to include
               moving and storing services as necessary to facilitate the sale of the assets herein.

       9.      The debtor in this case did already arrange for the auctioneer to pick up the 2015
               Nissan Frontier on December 17, 2017, and the auctioneer has secured the
               vehicle.

        WHEREFORE, your applicant prays that this Application be granted and that your
Trustee be authorized nunc pro tunc to December 17, 2017, to employ Gary Boyd of Gary Boyd
Auction & Real Estate, as auctioneer to conduct public and private sales and to move and to store
assets as may be required in this estate on the terms and conditions to be more fully set forth in
the specific Applications for authority to sell as related to the various sales.


Dated: 12/19/2017                             /s/ Frederick L. Henderson Jr.
                                              Wayne Sigmon, NC Bar #7318
                                              Frederick L. Henderson, Jr., NC Bar #43586
                                              Sigmon & Henderson, PLLC
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                                              Gastonia, North Carolina 28054
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                                              Attorneys for the Trustee
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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the pleading or paper to which this Certificate is affixed
was served upon the other party(s) to this action electronically, by hand delivery, or by depositing
a copy of same, enclosed in a first-class postpaid wrapper properly addressed to the attorney(s) of
record for such other party(s), in a post office or official depository under the exclusive care and
custody of the United States Postal Service this the 19th day of December, 2017.


                                                  /s/ Frederick L. Henderson Jr.
                                                  Frederick L. Henderson Jr., Attorney

VIA ECF:

Shelley Abel
Bankruptcy Administrator

Beth Carter
Attorney for the Debtor
